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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                           No: 22-1459

                  Kevin Scott Karsjens, and all others similarly situated, et al.

                                                      Appellants

                                                 v.

                                      Jodi Harpstead, et al.

                                                      Appellees

                                    ------------------------------

                                          United States

                                      Amicus on Behalf of Appellant(s)

______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                                (0:11-cv-03659-DWF)
______________________________________________________________________________

                                           MANDATE

       In accordance with the opinion and judgment of July 13, 2023, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                        September 19, 2023




Clerk, U.S. Court of Appeals, Eighth Circuit




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